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1    DAYLE ELIESON
     United States Attorney
2    ALEXANDRA MICHAEL
     PATRICK BURNS
3    Nevada Bar No. 11779
     Assistant United States Attorneys
4    501 Las Vegas Boulevard South, Suite 1100
     Las Vegas, Nevada 89101
5    (702) 388-6336/Fax: (702) 388-6020
     John.P.Burns@usdoj.gov
6
     Representing the United States of America
7
                           UNITED STATES DISTRICT COURT
8                               DISTRICT OF NEVADA
                                       -oOo-
9
      UNITED STATES OF AMERICA,                      Case No.: 2:15-cr-00014-APG-VCF
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                            Plaintiff,               GOVERNMENT’S EX PARTE
11                                                   MOTION IN LIMINE TO PRECLUDE
                  vs.                                INTRODUCTION OF FINDINGS
12                                                   MADE AS TO SERGEANT FRANK
      OMAR QAZI,                                     BIEN IN UNITED STATES V. FRANK
13                                                   CHAVEZ, CASE NO. 2:15-CR-00035-
                            Defendant.               RFB-CWH
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           The United State of America, by and through DAYLE ELIESON, United States
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     Attorney, and ALEXANDRA MICHAEL and PATRICK BURNS, Assistant United
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     States Attorneys, hereby respectfully submit this Government’s Ex Parte Motion in
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     Limine to Preclude Introduction of Findings Made as to Sergeant Frank Bien in United
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     States v. Frank Chavez, Case No. 2:15-cr-00035-RFB-CWH.
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1                                   POINTS AND AUTHORITIES

2                                      I.    Introduction

3          The Government intends to call as a witness in its case-in-chief Las Vegas

4    Metropolitan Police Department (LVMPD) Sergeant Frank Bien. Sgt. Bien was a

5    detective in LVMPD’s Firearms Investigation Unit (FIU) at the time of the events in this

6    case. Sgt. Bien’s principal role in the investigation was to apply for and obtain a search

7    warrant permitting the search of Omar Qazi (Qazi)’s car and seizure of Qazi’s buccal

8    swab DNA standard. Sgt. Bien executed the warrant, impounded the charged firearm

9    and Qazi’s buccal swab, and otherwise documented the property in the car.

10         In an unrelated case, United States v. Frank Chavez, Case No. 2:15-cr-00035-RFB-

11   CWH, United States District Court Judge Richard F. Boulware entered an order on a

12   suppression motion involving Sgt. Bien and another FIU detective, Breck Hodson (who

13   is not a witness in this case). Judge Boulware made the following findings as to Det.

14   Hodson and Sgt. Bien:

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                  2. Hodson’s Affidavit Was Supported By Probable Cause
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                  The Court finds that Hodson’s statement to Judge Lippis that
17         Chavez was Rentfro’s son, which went uncorrected after Hodson later
           discovered that it was untrue, constituted a knowing false statement.
18         However, it did not affect the existence of probable cause for the search
           warrant.
19                The evidence shows that Hodson’s representation to Judge Lippis
           that Chavez was Rentfro’s son,3 which Hodson did not attempt to correct
20         after he discovered the truth, was a knowing false statement. Although
           Hodson did not know of the falsity of the statement at the time he made the
21         warrant application (because he had been informed by O’Leary that Chavez
           was in fact Rentfro’s son), Bien informed Hodson immediately after the call
22         of the falsity of that information. Hodson and Bien’s decision to
           nevertheless execute the warrant, without calling Judge Lippis back to ask
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1          whether this information would change her probable cause determination,
           converted an innocent misrepresentation into one that was knowingly false.
2                 Nevertheless, setting this false material aside, probable cause
           existed to issue the search warrant for Chavez’s bedroom. Even absent any
3          information as to the relationship between Rentfro and Chavez, the Court
           finds that Judge Lippis had sufficient information from which to conclude
4          that there was a “fair probability that contraband or evidence of a crime”
           would be found in Chavez’s bedroom. Needham, 718 F.3d at 1194. Judge
5          Lippis was informed that O’Leary had recovered a firearm from Chavez’s
           rear pocket. She was also informed that Rentfro entered Chavez’s bedroom
6          while Alfonsi and O’Leary were outside with Chavez and that Rentfro
           discovered shotgun ammunition in the bedroom. Judge Lippis could also
7          conclude that Rentfro was a credible informant due to the fact that she was
           known to the officers and physically present at the scene and that her
8          previous statement that Chavez possessed a gun had been corroborated. All
           of these facts support a finding of probable cause as it relates to the items
9          sought in the warrant. Based on these facts, the false statement contained
           in the warrant application was not essential to the finding of probable
10         cause.
           __________________________________________________________________
11         3 In Hodson’s affidavit, this misrepresentation was evidenced by the

           statements that Rentfro “identified her son as Frank Chavez,” that Rentfro
12         “stated that . . . she was in a verbal argument with her son,” and that “Ms.
           Rentfro was staying inside the . . . room at the residence that her son rents
13         from the homeowner.” Warrant App. at 3.
           ECF No. 55 at 18:18-19:17.
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           The Government subsequently filed a motion asking Judge Boulware to amend
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     his order, specifically his finding that Det. Hodson and Sgt. Bien made a “knowingly
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     false” statement. The evidentiary and legal bases for that request are described at length
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     in the motion. ECF No. 65. At Frank Chavez’s sentencing, Judge Boulware denied the
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     motion without prejudice to it being later refiled. ECF No. 67. Undersigned counsel
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     recalls that Judge Boulware’s rationale for the denial without prejudice was that Chavez
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     (whose plea agreement permitted him to appeal Judge Boulware’s order on the
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     suppression motion) would be taking an appeal. Judge Boulware preferred to have his
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     order reach the Ninth Circuit without any modification at that point.
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1            Chavez’s appeal was ultimately decided adversely to the Government on

2    unrelated grounds. See United States v. Chavez, 673 F. App’x 754 (9th Cir. 2016). This

3    caused the Government to move to dismiss the indictment without prejudice. ECF No.

4    116. Prior to that dismissal, the Government did not refile the motion to amend. That

5    was a function of the case’s unique procedural posture and path toward dismissal. The

6    United States Attorney’s Office is currently considering whether the motion should be

7    refiled in light of the potential continuing impact of the decision on these police officers’

8    careers.

9            The Government now moves on an ex parte basis for an order that: (1) the Chavez

10   finding that Sgt. Bien made a “knowingly false” statement is wholly inadmissible at

11   Qazi’s trial; and (2) the Government is not obligated to disclose the Chavez finding to

12   Qazi.

13                                      II.    Legal Argument

14           A. Legal Standard for Relevant Evidence and the Exclusion of Irrelevant
                and Unfairly Prejudicial Evidence Under Federal Rules of Evidence
15              401-403

16           Federal Rule of Evidence 401 provides that “[e]vidence is relevant if: (a) it has any

17   tendency to make a fact more or less probable than it would be without the evidence; and

18   (b) the fact is of consequence in determining the action.” Rule 402 provides in part that

19   “[i]rrelevant evidence is not admissible.” Rule 403 permits a district court to exclude

20   relevant evidence if the evidence’s probative value is substantially outweighed by the

21   danger of “unfair prejudice, confusing the issues, misleading the jury, undue delay,

22   wasting time, or needlessly presenting cumulative evidence.” Evidence is unfairly

23   prejudicial if it suggests a decision on an improper basis. See Fed. R. Evid. 403 Advisory

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1    Committee’s Note. District court judges enjoy broad discretion to exclude evidence under

2    Rule 403, and their determinations will not be disturbed on appeal absent an abuse of

3    that discretion. Wood v. Alaska, 957 F.2d 1544, 1550 (9th Cir. 1992) (“Because trial

4    judges have broad discretion both to determine relevance and to determine whether

5    prejudicial effect or other concerns outweigh the probative value of the evidence, we will

6    find a [constitutional] violation only if we conclude that the trial court abused its

7    discretion.”).

8           B. There Is No Evidentiary or Legal Support for the Conclusion That Sgt.
               Bien Made a “Knowingly False” Statement, and Admission of that
9              Evidence Would Create a Distracting, Time-Consuming, and
               Prejudicial Mini-Trial—the Court Should Find that Judge Boulware’s
10             Order Is Not Admissible in Qazi’s Trial and that the Government is
               Not Obligated to Disclose it to Qazi
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            Judge Boulware’s order finding that Sgt. Bien made a “knowingly false” statement
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     should not be admissible in Qazi’s trial. First, for the reasons articulated in the
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     Government’s motion to amend, the facts at the evidentiary hearing did not demonstrate
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     that Sgt. Bien—who neither authored nor swore out the telephonic search warrant—
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     made a “knowingly false” statement. See ECF No. 65 at 4:17-7:12. Even if Sgt. Bien was
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     the author of the warrant, a “knowingly false” statement was never made—the innocent,
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     good faith inclusion of incorrect information conveyed by other officers about a matter
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     that was not material does not arise to a “knowingly false” statement. See generally id.
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     And the detectives’ decision, in the heat of an investigation, to not contact the justice of
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     the peace to correct this innocently-included, immaterial fact also does not rise to the
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1    level of making a “knowingly false” statement. 1 Finally, it appears that Sgt. Bien who

2    neither authored nor swore out the warrant, was collaterally tainted by the order due to

3    his involvement in the larger investigation. There is no impeachment material to

4    disclose because: (1) the detectives did not make a “knowingly false” statement; and (2)

5    even if there was such a statement, it was not Sgt. Bien who made it.

6            Assuming further that the Chavez order constituted some type of impeachment

7    material, it should not be admissible in Qazi’s trial. Introduction of the order is

8    guaranteed to generate a distracting, confusing, unfairly prejudicial, and time-

9    consuming mini-trial. First, to rehabilitate Sgt. Bien, the Government would in fairness

10   need to be permitted to introduce the many facts about the Chavez case, including: the

11   immateriality of the statement to the warrant’s probable cause showing; the fact that

12   the incorrect information was innocently included based on information relayed by other

13   officers; Sgt. Bien’s role in the warrant drafting and swearing relative to Det. Hodson’s

14   role; the facts and circumstances supporting probable cause for the warrant; and the fact

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16   1 Judge Boulware’s order is internally contradictory as to whether the incorrect statement was material.
     The order states that “the false statement contained in the warrant application was not essential to the
17   finding of probable cause.” ECF No. 55 at 19:16-17. But in the next sentence, the order implies that
     Detective Hodson’s statement was “material.” Id. at 19:18-19 (“Finally, to the extent Chavez contends that
18   Hodson made other material misrepresentations in his affidavit, the Court finds that Chavez has not
     established by a preponderance of the evidence that any of these statements constituted knowing or
     intentional falsehoods or statements made with reckless disregard for the truth, nor has he established
19   that they were essential to the probable cause determination.”). The order is contradictory because the
     statement cannot be “material” under the law if it did not affect the probable cause determination. See
20   Miller v. Prince George’s Cty., MD, 475 F.3d 621, 628 (4th Cir. 2007) (“[I]n order to violate the Constitution,
     the false statements or omissions must be ‘material,’ that is, ‘necessary to the [neutral and disinterested
21   magistrate’s] finding of probable cause.’ [Franks v. Delaware, 438 U.S. 154, 155-156, 98 S.Ct. 2674, 57
     L.Ed.2d 667 (1978)]. To determine materiality, a court must ‘excise the offending inaccuracies and insert
     the facts recklessly omitted, and then determine whether or not the ‘corrected’ warrant affidavit would
22   establish probable cause.’” (citations omitted)); Sherwood v. Mulvihill, 113 F.3d 396, 399 (3d Cir. 1997)
     (“Under Franks, falsehoods are deemed material to the finding of probable cause if the affidavit, “with the
23   ... false material set to one side ... is insufficient to establish probable cause.” Franks, 438 U.S. at 156, 98
     S.Ct. at 2676.”).
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1    that Judge Boulware nevertheless found the warrant supported by probable cause. Only

2    with those tools would the Government be afforded its fair and justifiable chance to

3    rehabilitate the credibility of a crucial witness.

4            Such a process would guarantee that the jury will be both distracted and delayed

5    from fulfilling its actual function in Qazi’s trial. A detour into the facts and

6    circumstances of an unrelated search warrant in an unrelated felon-in-possession case

7    would unduly distract the jury from hearing about the evidence and facts in Qazi’s case.

8    See, e.g., United States v. Richardson, 793 F.3d 612, 628-629 (6th Cir. 2015), cert.

9    granted, judgment vacated on unrelated grounds, 136 S. Ct. 1157, 194 L. Ed. 2d 164

10   (2016). 2 Additionally, to have Sgt. Bien’s credibility attacked on such a questionable

11   basis would unfairly prejudice the Government at trial where there are no questions

12   about Sgt. Bien’s conduct in Qazi’s case—Sgt. Bien actually was the warrant affiant in

13   this case and no colorable question has been raised about the veracity or accuracy of that

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15   2 (“In this case, the district court determined that the judicial opinion Richardson sought to introduce on
     cross-examination: (1) was the type of evidence intended to be precluded by Rule 608(b), (2) was not clearly
16   probative of the witness’ character for truthfulness, (3) would likely confuse or mislead the jury, and (4)
     could prejudice the government. The district court did not abuse its discretion in reaching these
     conclusions. As a preliminary point, a judicial opinion making a credibility determination does indeed
17   appear to be the type of extrinsic evidence disallowed by Rule 608(b). See United States v. Taylor, 471
     Fed.Appx. 499, 521 (6th Cir. 2012) (opining that an opinion written by a district judge “may not be
18   admitted as extrinsic evidence” under Rule 608(b)); United States v. Mendez, 303 Fed.Appx. 323, 325 (6th
     Cir. 2008) (finding that official reports of a witness interview were inadmissible under Rule 608(b) as
     extrinsic evidence of collateral matters). []Moreover, the district court was within its discretion in
19   determining both that the cross-examination sought by Richardson would likely lead to jury confusion and
     that it lacked probative value. The district court’s credibility determination in the 2002 case was
20   generalized as to both testifying officers and seemed to relate to Officer Herzog primarily with respect to
     the question of whether a defendant urinated in an alley in a particular manner at a particular time of
21   night. It was reasonable for the district court in this case to conclude that the previous district judge’s
     incredulity regarding Officer Herzog's testimony was not probative of his general character for
     truthfulness. Additionally, given the context and nature of this credibility assessment, if the 2002 case
22   were raised on cross-examination, the jury would need to be presented with detailed testimony regarding
     an entirely collateral matter in order to assess its probative value. This type of collateral “mini-trial” is
23   precisely what Rule 608(b) is intended to prevent, and why the decision of whether or not to permit such
     cross-examination should be, and is, within the district court's discretion.”).
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1    warrant. In other words, the probative value of the order is scant relative to the

2    incendiary prejudicial impact it would have if admitted in Qazi’s trial. See id. For these

3    reasons, even if the Court believes that the Chavez finding could constitute impeachment

4    material as to Sgt. Bien, it should still be wholly excluded under Federal Rule of

5    Evidence 403. 3

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     3Because the Government does not believe that the Chavez order constitutes impeachment material, this
21   motion is filed on an ex parte basis. The Government has not brought Judge Boulware’s order to Qazi’s
     attention. The order is publicly available in the PACER ECF system, and is also reported and available
     on Westlaw (and presumably Lexis). United States v. Chavez, 111 F. Supp. 3d 1131 (D. Nev. 2015), rev’d
22   in part, 673 F. App’x 754 (9th Cir. 2016). The Government is unaware of whether Defendant Qazi is
     already familiar with Judge Boulware’s order in the Chavez case. The order is easily found by searching
23   Sgt. Bien’s name, “Frank Bien,” in Westlaw; that search brings up Chavez order as the second of six case
     results. The first result is an order from this case involving Qazi.
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1                                     III.    Conclusion

2          WHEREFORE, after consideration of the included facts, points, authorities,

3    exhibits, and arguments, the United States respectfully requests that this Court GRANT

4    the Ex Parte Motion in Limine to Preclude Introduction of Findings Made as to Sergeant

5    Frank Bien in United States v. Frank Chavez, Case No. 2:15-cr-00035-RFB-CWH, and

6    order that:

7          (1) the order and findings as to Sgt. Bien in United States v. Frank Chavez, Case

8             No. 2:15-cr-00035-RFB-CWH are wholly inadmissible in Qazi’s trial; and

9          (2) the Government is not obligated to disclose or draw Qazi’s attention to the

10            findings made as to Sgt. Bien in United States v. Frank Chavez, Case No. 2:15-

11            cr-00035-RFB-CWH.

12
           DATED this 13th day of July, 2018.
13
                                             Respectfully submitted,
14
                                             DAYLE ELIESON
15                                           United States Attorney

16                                                   //s//

17                                           ALEXANDRA MICHAEL
                                             PATRICK BURNS
18                                           Assistant United States Attorneys

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1
                                  CERTIFICATE OF SERVICE
2
             I certify that I am an employee of the United States Attorney’s Office. A copy of
3
     the foregoing GOVERNMENT’S EX PARTE MOTION IN LIMINE TO PRECLUDE
4
     INTRODUCTION OF FINDINGS MADE AS TO SERGEANT FRANK BIEN IN
5
     UNITED STATES V. FRANK CHAVEZ, CASE NO. 2:15-CR-00035-RFB-CWH was
6
     sent to Defendant Qazi via United States mail addressed to:
7
             Mr. Omar Qazi #49760048
8            NSDC 2190 East Mesquite Avenue
             Pahrump, Nevada, 89060
9
     and on stand-by counsel Telia Williams, Esq., via electronic service by ECF, on July 17,
10
     2018.
11
             DATED this 17th day of July, 2018.
12

13
                                                    //s// Patrick Burns
                                              ______________________________
14
                                              PATRICK BURNS
                                              Assistant United States Attorney
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